Case:23-01428-MCF11 Doc#:28-10 Filed:06/22/23 Entered:06/22/23 21:45:39                                               Desc:
               Exhibit Sworn Statement DCD2013-2003 Page 1 of 3


                                                                                                               ATTACHMENT 1
1298.040
07-101-001-209-8391-4


                                         COMMONWEALTH OF PUERTO RICO
                                            COURT OF FIRST INSTANCE
                                            BAYAMÓN SUPERIOR PART


        BANCO POPULAR DE PUERTO RICO                                 CIVIL NO.: DCD2013-2003
                                                                     ROOM 502
                           Plaintiff

                              vs.

 ALEXIS RAMIREZ ROSADO aka ALEXIS                                    RE:
 RAMIREZ his wife, ELSIE E. BERRIOS SALGADO
 aka ELSIE ENID BERRIOS SALGADO and as
 ELSIE E.BERRIOS                                                     FORECLOSURE BY ORDINARY MEANS.

                           Defendant



                                                    SWORN STATEMENT

          I, Rita Pabón Amaro, of legal age, single, Administrative Officer of Banco Popular de Puerto Rico, resident

of San Juan, Puerto Rico, under oath declare the following:

     1. That my name and other circumstances are those previously stated.

     2. That I am the officer in charge of the Collection and Foreclosure Section of Banco Popular de Puerto Rico, and

as such, I am in charge of the files of all mortgage foreclosure cases of the aforementioned institution.

     3. That I am in charge of the loan of Mr. ALEXIS RAMIREZ ROSADO aka ALEXIS RAMIREZ, his wife,

ELSIE E. BERRIOS SALGADO aka ELSIE ENID BERRIOS SALGADO and as ELSIE E. BERRIOS, which

is the mortgage loan number 208391-4.

     4. That the institution I represent has against the aforementioned gentlepeople a claim that merits the granting of

a remedy, since they owe the bank as of April 1, 2007 the sum of $79,064.01 of principal, plus accrued interest at

7.50% per annum from that date onwards and those accrued up to the full payment of the debt, plus the agreed late

fees and mortgage insurance items, plus attorney's fees. This is for a mortgage loan granted to them for a property

located at 28-17 Calle 13, Urb. Santa Rosa, Bayamón, Puerto Rico 00960.

     5. According to the records of the Banco Popular de Puerto Rico, which I have in my power, all payments made

by the defendants have been duly applied to the payment of this loan, and to the best of my knowledge, the balances

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23/MAY/2023 ♦ Pura Reyes Gilestra-ATA # 244688/NAJIT # 3449 ♦ Translations & More: 787-637-4906
Case:23-01428-MCF11 Doc#:28-10 Filed:06/22/23 Entered:06/22/23 21:45:39                                          Desc:
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offered are true and have been correctly computed.

     6. That the plaintiff BPPR is the holder and possessor in good faith of the Promissory Note described in this

lawsuit and its efforts to collect the amount owed and indicated in the previous paragraphs have already been

exhausted.

     7. That according to the records of loan 208391-4 in my charge, there is no notification on the part of the debtors

indicating that he or they are currently serving in the Armed Forces of the United States of America. That we have

done a review through the Defense Manpower Data Center service. Human Resources Office of the Department of

Defense of the United States Government, and this office has certified that the debtors are not currently in active

service in the Armed Forces of the United States of America. We attach a copy of the certification issued by the "Data

Center".

     8. That the debt claimed from the defendants in this case is a liquid- and enforceable debt and therefore, the

plaintiff BPPR has a valid claim against all co-defendants and is entitled to the requested relief.

     9. That everything stated in this Sworn Statement is true and I state so under oath.



     In San Juan, Puerto Rico today October 4, 2013.

                                                                                 [Signature]
                                                                                 RITA PABÓN AMARO

Testimony No. 58,009

           Signed and sworn before me by Rita Pabón Amaro, whose personal circumstances are described above,

whom I attest to know personally in San Juan, Puerto Rico, today, October 4, 2013.



                                                                         [Signature]
                                                                         NOTARY PUBLIC




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               Exhibit Sworn Statement DCD2013-2003 Page 3 of 3




[Cancelled Internal Revenue Stamp and Court Seal]




                                                                                         I CERTIRY that the above is an exact
                                                                                         and true copy of the original filed in
                                                                                         the records of the case.
                                                                                          Upon payment of fees
                                                                                          For official use
                                                                                         In Bayamón, Puerto Rico on APR 11,
                                                                                         2019.
                                                                                                By [Signature]
                                                                                                          Court Clerk
                                                                                                By: [Signature]
                                                                                                    Deputy Clerk Court I




Certified to be a true and exact translation from the source text in Spanish to the target language English.
23/MAY/2023 ♦ Pura Reyes Gilestra-ATA # 244688/NAJIT # 3449 ♦ Translations & More: 787-637-4906
